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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                             1:25cv21998
                                 Case No.

      CARLSON PET PRODUCTS, INC.,

            Plaintiff,

      v.

      THE INDIVIDUALS, CORPORATIONS,
      LIMITED LIABILITY COMPANIES,
      PARTNERSHIPS, AND
      UNINCORPORATED ASSOCIATIONS
      IDENTIFIED ON SCHEDULE A,

            Defendants.

                                                 /

                                             COMPLAINT

           Plaintiff Carlson Pet Products, Inc. (“Carlson”), by and through its undersigned counsel,

  brings this Complaint against Defendants – the individuals, corporations, limited liability

  companies, partnerships, and unincorporated associations and foreign entities identified on

  Schedule A1 (collectively, “Defendants”) – and hereby alleges as follows.

                                     NATURE OF THE ACTION

           1.      This is an action for patent infringement to combat e-commerce store operators who

  have embarked on an intentional scheme of trading upon Carlson’s reputation and goodwill by

  making, importing, offering for sale, and selling into the United States for subsequent sale or use,

  unauthorized and unlicensed products which infringe Carlson’s U.S. Patent No. 11,085,233 (the

  “‘233 Patent” or the “Asserted Patent”).




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           Carlson intends to file a Motion to Seal “Schedule A.”
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         2.      Each of the Defendants directly and/or indirectly makes, imports, distributes,

  markets, offers to sell and/or sells barrier gate products that infringe one or more claims of the

  Asserted Patent (collectively the “Accused Products”) in the United States, including in this

  Judicial District, and otherwise purposefully directs infringing activities to this District in

  connection with the Accused Products. Defendants conduct this activity through various fully

  interactive commercial Internet e-commerce storefronts operating under online marketplace

  accounts also set forth on Schedule A (the “Seller IDs”), including but not limited to Amazon.com

  Inc.’s (“Amazon”) well-known online retail marketplace and ecommerce platform.

         3.      The Seller IDs share unique identifiers, such as using the same or similar product

  images, advertising, design elements, and similarities of the Accused Products offered for sale,

  thereby establishing a logical relationship between them and suggesting that Defendants’ illegal

  operations arise out of the same infringing product, same transaction, occurrence, or series of

  transactions or occurrences.

         4.      Defendants attempt to avoid liability by going to great lengths to conceal both their

  identities and the full scope and interworking of their illegal operations. Carlson is forced to file

  this action to combat Defendants’ infringement of the Asserted Patent, as well as to protect

  unknowing consumers from purchasing the Accused Products sold by Defendants.

         5.      As a result of Defendants’ actions, Carlson has been and continues to be irreparably

  damaged from the loss of its lawful patent rights to exclude others from making, using, selling,

  offering for sale, and importing its patented technology, and, therefore, seeks injunctive and

  monetary relief.

         6.      The harm and damages sustained by Carlson has been directly and proximately

  caused by Defendants’ manufacture, importation, offers to sell, and sale of the Accused Products.




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         7.      This Court has personal jurisdiction over each Defendant, in that on information

  and belief, each Defendant conducts significant business in Florida and in this Judicial District,

  and the acts and events giving rise to this lawsuit of which each Defendant stands accused were

  undertaken in Florida and in this Judicial District.

         8.      In addition, each Defendant has offered to sell, has sold and has distributed the

  Accused Products into this Judicial District.

                                   JURISDICTION AND VENUE

         9.      This Court has original subject matter jurisdiction over the patent infringement

  claim arising under the patent laws of the United States pursuant to 35 U.S.C. §§ 1 et seq., 28

  U.S.C. §§ 1331 and 1338(a).

         10.     Defendants are subject to personal jurisdiction in this district because they direct

  business activities toward and conduct business with consumers through the United States,

  including within the State of Florida and this District, through at least the Internet based e-

  commerce stores and fully interactive commercial internet websites accessible in Florida and

  operating under Defendants’ Seller IDs on Amazon.

         11.     Upon information and belief, Defendants have been systematically directing and/or

  targeting their business activities at consumers in the United States, including those in Florida, in

  this Judicial District, through accounts with online marketplace platforms such as Amazon, as well

  as any and all as yet undiscovered accounts with additional online marketplace platforms held by

  or associated with Defendants, their respective officers, employees, agents, servants and all

  persons in active concert or participation with any of them (“User Account(s)”). Defendants target

  consumers in the United States, including Florida (and more particularly, in this Judicial District),

  through these marketplace platforms, in which consumers transact with Defendants regarding the




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  Accused Products and place orders for, receive invoices for, and purchase the Accused Products

  for delivery in the U.S., including Florida (and more particularly, in this Judicial District).

  Defendants use these platforms as a means for establishing regular business with the U.S.,

  including Florida (and more particularly, in this Judicial District).

          12.     Upon information and belief, Defendants have transacted business with consumers

  located in the U.S., including Florida (and more particularly, in this Judicial District), for the sale

  and shipment of the Accused Products. Defendants further offer to place or place the Accused

  Products into the stream of commerce, with the knowledge or understanding that these products

  will be sold or used in this District. As such, Defendants expect their actions to have consequences

  within this District.

          13.     To the extent Defendants do not reside in the United States, venue is proper in this

  Court because, pursuant to 28 U.S.C. § 1391(c)(3), Defendants that do not reside in the United

  States may be sued in any judicial district. Alternatively, venue is proper pursuant to 35 U.S.C. §

  1400(b), because on information and belief, Defendants have committed acts of infringement and

  have a regular and established place of business in this District.

                                               CARLSON

          14.     Carlson is a Minnesota corporation with a primary place of business located at 3200

  Corporate Center Drive, Suite 100, Burnsville, Minnesota 55306.

          15.     Carlson is a family-owned company that since 2006 has been extensively engaged

  in the business of manufacturing and marketing in interstate commerce a wide variety of pet gates

  and other pet related products. It is a pioneering company that began when it realized that pet

  gates did not exist specifically for pet owners, who then used baby gates that often were not big,

  strong, or high enough to keep pets inside or outside of an area. Since its inception, Carlson’s




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  commitment to innovation and quality has in large part fueled its tremendous growth. It has

  become one of the world leaders in the production and distribution of safety and barrier gate

  products at issue in this matter.

         16.     Carlson has invested substantial resources in the development of its safety and

  barrier gate products and establishing its reputation among consumers as having industry-leading

  products of the highest quality, safety, and performance.

         17.     Carlson’s products are designed and contrasted to meet enhanced industry

  standards and have been validated by numerous standards organizations.

         18.     Carlson’s ongoing efforts and the innovations resulting therefrom have given rise

  to numerous United States patents that cover many novel and unique aspects of its line of products,

  including the ‘233 Patent, which are directed to novel and unique safety and barrier gate features.

         19.     On August 10, 2021, the ‘233 Patent, entitled “Gate Apparatus With Springless

  Automatic Return Gate,” was duly and regularly issued to Carlson, as assignee of the inventors,

  Mark A. Flannery and Porter R. Million. A true and correct copy of the ‘233 Patent is attached

  hereto as Exhibit 1. Carlson is now and has been at all times since the respective dates of issuance

  of the ‘233 Patent the owner of that patent and of all rights thereto and thereunder.

         20.     Carlson offers for sale and sells products that embody the inventions of the ’233

  Patent. The products are marked with the number of the ‘233 Patent accordance with 35 U.S.C. §

  287(a), thereby providing public notice of the patent, including notice to Defendants.

         21.     Carlson has gone to great lengths to protect its interests in its safety and barrier gate

  products, as well as the Asserted Patent. No one other than Carlson and its distributors are

  authorized to manufacture, import, export, advertise, offer for sale, or sell any product covered by

  the Asserted Patent.




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          22.    Carlson has not licensed or authorized any Defendant to use the invention claimed

  in the Asserted Patent and none of the Defendants are authorized retailers of Carlson Products.

                     DEFENDANTS AND THEIR UNLAWFUL CONDUCT

          23.    Defendants are individuals and business entities who, upon information and belief,

  reside mainly in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

  business throughout the United States, including within the State of Florida and this Judicial

  District, through the operation of fully interactive commercial websites and online marketplaces

  operating under Defendants’ Seller IDs on Amazon.

          24.    Each Defendant targets the United States, including Florida, and has offered to sell

  and, on information and belief, has sold and continues to sell, barrier gate products that infringe

  one or more claims of the Asserted Patent to consumers within the United States, including Florida

  and this Judicial District. On further information and belief, each Defendant has imported one or

  more of the Accused Products into the State of Florida for distribution via Amazon.

          25.    On information and belief, Defendants are the past and present controlling forces

  behind the sale and offer for sale of the barrier gate products that infringe the Asserted Patent as

  described herein, using the Seller IDs.

          26.    On information and belief, Defendants go to great lengths to conceal their identities

  and often use multiple fictitious names and addresses to register and operate their massive network

  of Defendant Internet Stores.

          27.    For example, it is common practice for persons selling the Accused Products to

  register their User Accounts with incomplete information, randomly typed letters, or omitted cities

  or states.




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          28.        Many Seller IDs conceal their owners’ true identity and contact information. On

  information and belief, Defendants regularly create new online marketplace accounts on various

  platforms using the identities listed in Schedule A, as well as other unknown fictitious names and

  addresses. Such furtive registration patterns are one of many common tactics used by the

  Defendants to conceal their identities, the full scope and interworking of their operation, and to

  avoid liability.

          29.        Tactics used by Defendants to conceal their identities and the full scope of their

  operation make it virtually impossible for Carlson to learn Defendants’ true identities and the exact

  interworking of their network.         In the event that Defendants provide additional credible

  information regarding their identities, Carlson will take appropriate steps to amend the Complaint.

          30.        Defendants directly compete with Carlson by making, advertising, offering for sale,

  selling and importing goods that infringe one or more claims of the Asserted Patents to consumers

  within the United States and this District through Internet based e-commerce stores using, at least,

  the Seller IDs and additional names or seller identification aliases not yet known to Carlson.

  Defendants have purposefully directed some portion of their illegal activities towards consumers

  in the State of Florida through advertisements, offers to sell, sales, and/or shipment of the Accused

  Products into the State.

          31.        On information and belief, Defendants will continue to register or acquire new

  seller identification aliases for the purpose of selling and offering for sale barrier gate products

  that infringe the claims of the Asserted Patents unless preliminarily and permanently enjoined.

          32.        The success of Carlson’s safety and barrier gate products has resulted in a

  significant number of copycats and products that infringe one or more claims of the Asserted Patent

  being sold in the marketplace.




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         33.     Carlson has identified numerous infringers linked to fully interactive marketplace

  listings on platforms such as Amazon that are offering for sale, selling, and importing the Accused

  Products to consumers in this Judicial District and throughout the United States.

         34.     Defendants have persisted in creating such online marketplaces and internet stores.

  In fact, such online marketplaces and stores are estimated to receive tens of millions of visits per

  year and to generate more than $135 billion in annual online sales. According to an intellectual

  property rights seizures statistics report issued by the United States Department of Homeland

  Security, the manufacturer’s suggested retail price of goods seized by the U.S. government in fiscal

  year 2021 was more than $3.3 billion. Infringing online marketplaces and internet stores like those

  operated by Defendants are also estimated to contribute to tens of thousands of lost jobs for

  legitimate businesses and broader economic damages such as lost tax revenue every year.

         35.     Upon information and belief, Defendants use unauthorized search engine

  optimization (“SEO”) tactics and manipulation of Amazon’s sponsored ad systems so that their

  product listings show up at or near the top of relevant search results and misdirect consumers

  searching for genuine Carlson safety and barrier gate products. As such, Carlson also seeks to

  disable Defendants’ online marketplaces and internet storefronts that are the means by which the

  Defendants could continue to sell the Accused Products into this District.

         36.     On information and belief, even though Defendants operate under multiple

  fictitious names, there are numerous similarities among their online marketplaces and internet

  storefronts. For example, some of the Defendant Internet Stores have virtually identical layouts

  and use of the same or similar advertising text and images. In addition, the Accused Products bear

  similarities and indicia of being related to one another, suggesting that the Accused Products are




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  the same product or are manufactured by and come from a common source and that Defendants

  are interrelated.

          37.     A review of the Accused Products reveals that they contain many of the identical

  components and virtually identical product configurations.

                             COUNT I – PATENT INFRINGMENT
                            UNITED STATES PATENT NO. 11,085,233

          38.     Carlson incorporates by reference and realleges the foregoing paragraphs as if fully

  set forth herein.

          39.     Defendants have infringed and continue to infringe at least one claim of the ‘233

  Patent pursuant to 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by making,

  offering to sell, or selling the Accused Products within the United States and this Judicial District

  and/or importing them into the United States and this Judicial District, without authority or license.

          40.     For example, and by no means limiting, Defendants infringe at least Claim 2 of the

  ‘233 Patent, as detailed in the representative claim charts of two products that are representative

  of the Accused Products, which are annexed as Exhibit 2 and made a part hereof.2

          41.     Defendants and Carlson are competitors in a highly competitive industry where

  competitors closely monitor each other’s products, technology developments, and patents. On

  information and belief, Defendants have long been aware of Carlson. On further information and

  belief, before Defendants launched the Accused Products into the market, they knew of the ‘233



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          Exhibit 2 (filed under seal) comprises preliminary and exemplary claim charts describing
  infringement of Claim 2 of the ‘233 Patent by exemplary examples of the Accused Products and
  is merely provided to put the Defendants on notice of the claims against them. The claim charts
  are not intended to limit Carlson’s right to modify the charts or allege that other products of
  Defendants infringe the identified claims or any other claims of the ‘233 Patent or any other
  patents. Each claim element in Exhibit 2 that is mapped to an Accused Product shall be considered
  an allegation within the meaning of the Federal Rules of Civil Procedure, and therefore a response
  to each claim element is required.


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   Patent from their routine monitoring of Carlson’s commercial activities, and a reasonable

   opportunity for discovery will likely provide evidentiary support for this fact.

          42.     On information and belief, Defendants’ infringement has been and is willful, in bad

   faith, and in conscious disregard for Carlson’s exclusive rights.

          43.     Defendants’ infringement of the ‘233 Patent has caused, and will continue to cause,

   significant damage to Carlson. As a result, Carlson is entitled to an award of damages adequate to

   compensate it for the infringement in an amount that is in no event less than a reasonable royalty

   pursuant to 35 U.S.C. §284. Carlson is also entitled to recover prejudgment interest, post-judgment

   interest, costs, and any other damages as appropriate pursuant to 35 U.S.C. § 284.

          44.     Defendants’ infringing activities described herein have caused and continue to

   cause significant irreparable harm to Carlson, including inter alia, lost sales, price erosion, lost

   market share, a significant negative impact on Carlson’s goodwill, as well as a loss of the right to

   exclusivity.

          45.     While the Accused Products mimic Carlson’s safety and barrier gates and

   incorporate their patented features, the Accused Products are not certified under applicable

   industry standards, making them objectively inferior products.          Such circumstances cause

   irreparable harm to Carlson by not only diverting sales, but also by eroding Carlson’s reputation

   and brand distinction of having industry leading products of the highest quality, safety, and

   performance.

          46.     While the Defendants have infringed the ‘233 Patent through the aforesaid acts and

   will continue to do so unless enjoined by this Court. Defendants’ wrongful conduct has caused

   Carlson to suffer irreparable harm. Carlson is entitled to injunctive relief pursuant to 35 U.S.C. §

   283. Unless a preliminary and permanent injunction is issued enjoining Defendants and all others




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   acting in concert therewith from infringing the ‘233 Patent, Carlson will continue to be irreparably

   harmed.

                                        PRAYER FOR RELIEF

          WHEREFORE, Carlson demands judgment on all Counts of this Complaint and an award

   of equitable and monetary relief against Defendants as follows:

          1.      Entry of judgment that:

                  a.       Defendants have infringed the claims the ‘233 Patent; and

                  b.       The foregoing infringement has been willful.

          2.      Issuance of a temporary restraining order, preliminary and permanent injunction

   restraining, enjoining, and prohibiting Defendants and their affiliates, parents, successors, assigns,

   officers, agents, representatives, servants, employees, attorneys and all persons acting for, with,

   by, through, under, or in active concert with them from:

                  a.       Manufacturing, importing, offering to sell, or selling the Accused Products;

                  b.       Infringing the claims of the ‘233 Patent;

                  c.       aiding, abetting, contributing to, or otherwise assisting anyone in infringing

   upon the ‘233 Patent;

                  d.       shipping, delivering, holding for sale, transferring, or otherwise moving,

   storing, distributing, returning, or otherwise disposing of, in any manner, products or inventory

   not manufactured by or for Carlson, nor authorized by Carlson to be sold or offered for sale, and

   which infringe the claims of the ‘233 Patent; using, linking to, transferring, selling, exercising

   control over, or otherwise owning any online marketplace accounts that is being used to sell or is

   the means by which Defendants could continue to sell the Accused Products; and




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                  e.      effecting assignments or transfers, forming new entities or associations or

   utilizing any other device for the purpose of circumventing or otherwise avoiding the prohibitions

   set forth in Subparagraphs (a) through (d) above.

          3.      Entry of an order that Amazon and any other online marketplace account provider:

                  a.      disable and cease providing services for any accounts through which

   Defendants engage in the sale of products that infringe the claims of the ‘233 Patent, including any

   accounts associated with the Defendants listed on Schedule A;

                  b.      disable and cease displaying any advertisements used by or associated with

   Defendants in connection with the sale of products that infringe the claims of the ‘233 Patent; and

                  c.      take all steps necessary to prevent links to the online marketplace account

   set forth on Schedule A from displaying in search results, including, but not limited to, removing

   links to such accounts from any search index.

          4.      Award Carlson such damages as it shall prove at trial against Defendants that are

   adequate to compensate Carlson for Defendants’ infringement of the claims of the ‘233 Patent, but

   in no event less than a reasonable royalty for the use made of the invention by the Defendants,

   together with interest and costs, pursuant to 35 U.S.C. § 284.

          5.      Award Carlson enhanced damages, as provided by 35 U.S.C. § 284;

          6.      Award Carlson its reasonable attorneys’ fees and costs.

          7.      Grant Plaintiffs such other and further relief as the Court may deem just and proper

   under the circumstances.

                                    DEMAND FOR JURY TRIAL

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Carlson respectfully

   demands a trial by jury on all issues triable by jury.




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    Dated: April 30, 2025
                                     Respectfully submitted,

                                     By: /s/ Maria Ermakova
                                     Maria Ermakova (FBN 1056797)
                                     E-mail: mermakova@cozen.com
                                     COZEN O’CONNOR P.C.
                                     200 South Biscayne Blvd., Suite 3000
                                     Miami, Florida 33131
                                     Telephone: 305-397-0807

                                     Bradley D. Liddle (pro hac vice forthcoming)
                                     Texas Bar Number 24074599
                                     E-mail: bliddle@cozen.com
                                     COZEN O’CONNOR P.C.
                                     1717 Main Street, Suite 3100
                                     Dallas, Texas 75201

                                     Frederick A. Tecce (pro hac vice forthcoming)
                                     Pennsylvania Bar Number 47298
                                     E-mail: Fred.tecce@altimaadvisors.com
                                     ALTIMA ADVISORS/ATTORNEYS, LLC
                                     One Liberty Place – 55th Floor 1650 Market Street
                                     Philadelphia, Pennsylvania 19103
                                     Telephone No. (215) 268-7525
                                     Facsimile No. (215) 268-7526

                                     Attorneys for Plaintiff
                                     CARLSON PET PRODUCTS, INC.




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